      Case 4:14-cr-00188-DPM             Document 311   Filed 05/15/15    Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                                NO. 4:14CR00188-17 JLH

VERNA THOMPSON                                                                DEFENDANT

                                             ORDER

       The United States has filed a motion to dismiss the indictment against defendant Verna

Thompson. The motion is GRANTED. Document #304. The indictment against Verna Thompson

is hereby dismissed without prejudice.

       IT IS SO ORDERED this 15th day of May, 2015.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
